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                           EXHIBIT 16
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US 7215653 – Claim 34               3GPP Specifications
A mobile station apparatus for      3GPP TS 25.321 V6.18.0
use in a mobile communications
system for controlling a data       9.2 Formats and parameters
transmission rate on a reverse      9.2.5 Signaling of control information for E-DCH
link, the apparatus comprising:     9.2.5.2 DL Scheduling information
                                    This control information is used by Node-Bs in a UE's E-DCH active set in order to
receiving means adapted to          control its use of E-DCH system resources.
receive a data rate control         9.2.5.2.1 Relative Grants
command of a base station on a       - Serving Relative Grant:
forward link common                      Transmitted on downlink on the E-RGCH from all cells in the serving E-DCH RLS,
channel in a dedicated manner,           the serving relative grant allows the Node B scheduler to incrementally adjust
the data rate control                    the serving grant of UEs under its control. By definition, there can only be one
command being formed of at               serving relative grant command received at any one time. This indication can
least one rate control bit               take three different values, "UP", "DOWN" or "HOLD".
that is signal point mapped to at
least one symbol of +1,             3GPP TS 25.212 V6.10.0
-1, and 0 to indicate whether the
mobile station should               4.11 Mapping for E-RGCH Relative Grant
increase, decrease, or maintain     4.11.1 Overview
its current data trans              The relative grant is transmitted on the E-RGCH as described in [2].
mission rate; and                   4.11.2 Relative Grant mapping
                                    The relative grant (RG) command is mapped to the relative grant value as described
                                    in the table below.

                                                              Table 17: Mapping of RG value
                                          Command       RG Value (serving E-DCH RLS)    RG Value (other radio links)
                                             UP                      +1                        not allowed
                                            HOLD                      0                              0
                                           DOWN                      -1                             -1
control means connected with        3GPP TS 25.321 V6.18.0
the receiving means
adapted to control the data         11.8 Control of E-DCH transmission and reception
transmission rate based on          11.8.1 UE operation
the data rate control command,      11.8.1.3 Serving Grant Update
wherein a bit is sent on            UEs in CELL_DCH state, configured with an E-DCH transport channel shall maintain
a reverse packet data control       a Serving Grant and the list of active HARQ processes based on the absolute and
channel to indicate                 relative grant commands decoded on the configured E-AGCH and ERGCH(s).
whether the mobile station has
enough power and data               Each Absolute Grant or Relative Grant command is applied at a specific TTI. This
to increase its data transmission   association is implicit based on the timing of the E-AGCH and E-RGCH (see [13]).
rate on a reverse packet            The timing is tight enough that this relationship is un-ambiguous.
data channel.
                                    The activation/deactivation of one or all processes is only applicable to processes
                                    for which transmission of scheduled data is allowed according to RRC signalling

                                    Process activation of an active process does not result in any action taken by the
                                    UE.

                                    9.2 Formats and parameters
                                    9.2.5 Signaling of control information for E-DCH
                                    9.2.5.3.1 Happy Bit
                                    The happy bit is a single bit field that is passed from MAC to the physical layer for
                                    inclusion on the E-DPCCH. This field takes two values, "Not Happy" and "Happy"

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                                    indicating respectively whether the UE could use more resources or not. The setting
                                    of the Happy Bit is defined in subclause 11.8.1.5.

                                  11.8.1.5 Happy Bit Setting
                                  The Happy Bit is included on the E-DPCCH for every E-DCH transmission. E-DCH
                                  transmissions shall not be triggered specifically to allow the transmission of the
                                  happy bit.
                                  RRC configures MAC with the duration Happy_Bit_Delay_Condition, over which to
                                  evaluate the current grant relative to the TEBS after application of the E-TFC
                                  selection procedure described in subclause 11.8.1.4.
                                  For every E-DCH transmission, the Happy Bit shall be set to "unhappy" if the three
                                  following criteria are met:
                                  1) UE is transmitting as much scheduled data as allowed by the current
                                  Serving_Grant in E-TFC selection; and
                                  2) UE has enough power available to transmit at higher data rate; and
                                  3) Based on the same power offset as the one selected in E-TFC selection to
                                  transmit data in the same TTI as the Happy Bit, TEBS would require more than
                                  Happy_Bit_Delay_Condition ms to be transmited with the current
                                  Serving_Grant × the ratio of active processes to the total number of processes.
                                  The first criteria is always true for a deactivated process and the ratio of the third
                                  criteria is always 1 for 10ms TTI.
                                  Otherwise, the Happy Bit shall be set to "happy".
US 7215653 – Claim 37             3GPP Specifications
A method of controlling a data 3GPP TS 25.321 V6.18.0
transmission rate on a reverse
link received by a mobile station 9.2 Formats and parameters
apparatus for use in a mobile 9.2.5 Signaling of control information for E-DCH
communications system, the 9.2.5.2 DL Scheduling information
method comprising:                This control information is used by Node-Bs in a UE's E-DCH active set in order to
                                  control its use of E-DCH system resources.
receiving a data rate control     9.2.5.2.1 Relative Grants
command of a base station on a      - Serving Relative Grant:
forward link common channel in         Transmitted on downlink on the E-RGCH from all cells in the serving E-DCH RLS,
a dedicated manner, the data           the serving relative grant allows the Node B scheduler to incrementally adjust
rate control command being             the serving grant of UEs under its control. By definition, there can only be one
formed of a least one rate             serving relative grant command received at any one time. This indication can
control bit that is signal point       take three different values, "UP", "DOWN" or "HOLD".
mapped to at least one symbol
of +1, −1, and 0 to indicate      3GPP TS 25.212 V6.10.0
whether the mobile station
should increase, decrease, or     4.11 Mapping for E-RGCH Relative Grant
maintain its current data         4.11.1 Overview
transmission rate; and            The relative grant is transmitted on the E-RGCH as described in [2].
                                  4.11.2 Relative Grant mapping
                                  The relative grant (RG) command is mapped to the relative grant value as described
                                  in the table below.

                                                              Table 17: Mapping of RG value
                                           Command      RG Value (serving E-DCH RLS)   RG Value (other radio links)
                                              UP                     +1                       not allowed
                                             HOLD                     0                             0
                                            DOWN                     -1                            -1
controlling the data transmission 3GPP TS 25.321 V6.18.0
rate based on the data rate
control command rate,             11.8 Control of E-DCH transmission and reception


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                                     11.8.1 UE operation
wherein a bit is sent on a reverse   11.8.1.3 Serving Grant Update
packet data control channel to       UEs in CELL_DCH state, configured with an E-DCH transport channel shall maintain
indicate whether the mobile          a Serving Grant and the list of active HARQ processes based on the absolute and
station has enough power and         relative grant commands decoded on the configured E-AGCH and ERGCH(s).
data to increase its data
transmission rate on a reverse       Each Absolute Grant or Relative Grant command is applied at a specific TTI. This
packet data channel.                 association is implicit based on the timing of the E-AGCH and E-RGCH (see [13]).
                                     The timing is tight enough that this relationship is un-ambiguous.

                                     The activation/deactivation of one or all processes is only applicable to processes
                                     for which transmission of scheduled data is allowed according to RRC signalling

                                     Process activation of an active process does not result in any action taken by the
                                     UE.

                                     9.2 Formats and parameters
                                     9.2.5 Signaling of control information for E-DCH
                                     9.2.5.3.1 Happy Bit
                                     The happy bit is a single bit field that is passed from MAC to the physical layer for
                                     inclusion on the E-DPCCH. This field takes two values, "Not Happy" and "Happy"
                                     indicating respectively whether the UE could use more resources or not. The setting
                                     of the Happy Bit is defined in subclause 11.8.1.5.

                                     11.8.1.5 Happy Bit Setting
                                     The Happy Bit is included on the E-DPCCH for every E-DCH transmission. E-DCH
                                     transmissions shall not be triggered specifically to allow the transmission of the
                                     happy bit.
                                     RRC configures MAC with the duration Happy_Bit_Delay_Condition, over which to
                                     evaluate the current grant relative to the TEBS after application of the E-TFC
                                     selection procedure described in subclause 11.8.1.4.
                                     For every E-DCH transmission, the Happy Bit shall be set to "unhappy" if the three
                                     following criteria are met:
                                     1) UE is transmitting as much scheduled data as allowed by the current
                                     Serving_Grant in E-TFC selection; and
                                     2) UE has enough power available to transmit at higher data rate; and
                                     3) Based on the same power offset as the one selected in E-TFC selection to
                                     transmit data in the same TTI as the Happy Bit, TEBS would require more than
                                     Happy_Bit_Delay_Condition ms to be transmited with the current
                                     Serving_Grant × the ratio of active processes to the total number of processes.
                                     The first criteria is always true for a deactivated process and the ratio of the third
                                     criteria is always 1 for 10ms TTI.
                                     Otherwise, the Happy Bit shall be set to "happy".




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